
—Claimant appeals from a judgment dismissing his claim for damages. He contracted with the State for the improvement of a highway in Orange county. The items for which recovery is sought are: (1) Delay by the town of Cornwall in completing two bridges; (2) the failure to remove houses and barns from new location; (3) failure to remove hydrants and telephone poles which were in close proximity to the location of a widened concrete road over the old right of way. The Court of Claims, upon sufficient evidence, has found that the delays were related to the contract and within the contemplation of the parties at the time the contract was made and were not caused by direct interference on the part of the State and that none of them was unreasonable. Judgment affirmed, with costs. Hill, P. J., Crapser, Bliss and Heffeman, JJ., concur; Rhodes, J., dissents, and votes to reverse, on the ground that the claimant suffered damage because of the delay of the State in furnishing it the site for the work.
